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      Attorney for Plaintiff
 5
 6
 7                               UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
        MICHAEL ERWINE, an individual,
10                                                             CASE NO. 3:18-cv-00461-RCJ-WGC

11                                          Plaintiff,
                                                  ORDER FOR
12      vs.                                       EXTENSION   OF TIME TO FILE
                                                  OPPOSITION TO MOTION FOR
13      CHURCHILL COUNTY, a political subdivision PARTIAL SUMMARY JUDGMENT
14      of the State of Nevada; CHURCHILL COUNTY [ECF. NO. 115] AND PROPOSED
        SHERIFF BENJAMIN TROTTER; and DOES 1 JOINT PRETIRAL ORDER – FIRST
15      through 10 inclusive,                     REQUEST

16                                         Defendants.
17
18           COMES NOW Plaintiff, MICHAEL ERWINE, and Defendants, CHURCHILL

19    COUNTY and BENJAMIN TROTTER, by and through their undersigned attorneys of record,
20
      and hereby stipulate and agree that Defendants shall have an extension of time from May 21,
21
      2021, to May 28, 2021, in which to file an opposition to Plaintiff’s Motion for Partial Summary
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      Judgment [ECF NO. 115]. The parties also request that the time for filing of the Proposed Joint
23
24    Pretrial Order be extended from May 31, 2021, to 30 days after the order has been entered on

25    the Plaintiff's Motion for Partial Summary Judgment (ECF No. 115).
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             This is the first request for extension of time to file the opposition. The parties hereby
27
      stipulate and agree that this request is not made for any improper purpose or for purposes of
28
      delay and that no party shall be prejudiced by same.

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                                         118 Filed 05/19/21
                                                   05/13/21 Page 2 of 2




        DATED this 12th day of May, 2021.          DATED this 12th day of May, 2021.
 1
 2      LUKE ANDREW BUSBY, LTD                     THORNDAL ARMSTRONG
                                                   DELK BALKENBUSH & EISINGER
 3
 4      By: / s / Luke A. Busby                    By: / s / Katherine F. Parks
           Luke A. Busby, Esq.                        Katherine F. Parks, Esq.
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 6         Reno, Nevada 89509                         Reno, Nevada 89509
 7         Attorney for Plaintiff                    Attorneys for Defendants
           Michael Erwine                            Churchill County and Benjamin Trotter
 8
 9                                          ORDER
10
            IT IS SO ORDERED.
11
            DATED: May 19, 2021.
12
13
                                            _____________________________________
14                                          UNITED STATES DISTRICT JUDGE
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